                 Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 1 of 26



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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                        FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9

10
       MANISHA SHAH, individually and on behalf            Civil Action No. ______________
11     of all others similarly situated,
12                            Plaintiff,                   CLASS ACTION COMPLAINT FOR
                                                           BREACH OF FIDUCIARY DUTIES
13                    v.                                   AND VIOLATIONS OF SECTIONS
                                                           14(e), 14(d), AND 20(a) OF THE
14     AIMMUNE THERAPEUTICS, INC.,                         SECURITIES EXCHANGE ACT OF
       JAYSON DALLAS, GREG BEHAR,                          1934
15     PATRICK ENRIGHT, KATE FALBERG,
       BRETT HAUMANN, MARK IWICKI,                         JURY TRIAL DEMAND
16     MARK MCDADE, and STACEY D.
       SELTZER,
17
                              Defendants.
18

19
            Plaintiff Manisha Shah (“Plaintiff”), by her attorneys, on behalf of herself and those
20
     similarly situated, files this action against the defendants, and alleges upon information and belief,
21
     except for those allegations that pertain to her, which are alleged upon personal knowledge, as
22
     follows:
23
                                      SUMMARY OF THE ACTION
24
            1.      Plaintiff brings this stockholder class action on behalf of herself and all other public
25
     stockholders Aimmune Therapeutics, Inc. (“Aimmune” or the “Company”), against Aimmune and
26
     the Company’s Board of Directors (the “Board” or the “Individual Defendants,” and collectively
27
     with Aimmune, the “Defendants”), for violations of Sections 14(e) and 20(a) of the Securities and
28
     Exchange Act of 1934 (the “Exchange Act”) and for breaches of fiduciary duty as a result of

                                                -1-
                                      CLASS ACTION COMPLAINT
                  Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 2 of 26



 1 Defendants’ efforts to sell the Company to Sociétés des Produits Nestlé S.A. (“Parent”), and SPN

 2 MergerSub, Inc. (“Merger Sub,” and collectively with Parent, “Nestlé”) as a result of an unfair

 3 process for an unfair price, and to enjoin an upcoming tender offer on a proposed all cash

 4 transaction valued at approximately $2.6 billion (the “Proposed Transaction”).

 5           2.      The terms of the Proposed Transaction were memorialized in an August 30, 2020,

 6 filing with the Securities and Exchange Commission (“SEC”) on Form 8-K attaching the definitive

 7 Agreement and Plan of Merger (the “Merger Agreement”). Under the terms of the Merger

 8 Agreement, a subsidiary of Nestlé will commence a tender offer to acquire all of the outstanding

 9 shares of Aimmune’s common stock at a price of $34.50 per share in cash. As a result of the

10 Proposed Transaction, Aimmune stockholders will be frozen out of any interest in the surviving

11 entity.

12           3.      Thereafter, on September 14, 2020, Aimmune filed a Solicitation/Recommendation

13 Statement on Schedule 14D-9 (the “Recommendation Statement”) with the SEC in support of the

14 Proposed Transaction.

15           4.      The Proposed Transaction is unfair and undervalued for a number of reasons.

16 Significantly, the Recommendation Statement describes an insufficient process in which the Board

17 rushed through an inadequate “sales process” with the sole goal of a sale to Nestlé, who already

18 owns approximately 19% of the Company.

19           5.      In approving the Proposed Transaction, the Individual Defendants have breached
20 their fiduciary duties of loyalty, good faith, due care and disclosure by, inter alia, (i) agreeing to

21 sell Aimmune without first taking steps to ensure that Plaintiff and Class members (defined below)

22 would obtain adequate, fair and maximum consideration under the circumstances; and (ii)

23 engineering the Proposed Transaction to benefit themselves and/or the Nestlé without regard for

24 Aimmune’s public stockholders.          Accordingly, this action seeks to enjoin the Proposed

25 Transaction and compel the Individual Defendants to properly exercise their fiduciary duties to

26 Aimmune stockholders.
27           6.      In further breach of their fiduciary duties, on September 14, 2020, Defendants

28 caused to be filed the materially deficient Recommendation Statement with the SEC in an effort


                                                -2-
                                      CLASS ACTION COMPLAINT
                  Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 3 of 26



 1 to solicit stockholders to tender their Aimmune shares in favor of the Proposed Transaction. The

 2 Recommendation Statement is materially deficient, deprives Aimmune stockholders of the

 3 information they need to make an intelligent, informed and rational decision of whether to tender

 4 their shares in favor of the Proposed Transaction, and is thus in breach of the Defendants fiduciary

 5 duties. As detailed below, the Recommendation Statement omits and/or misrepresents material

 6 information concerning, among other things: (a) the sales process leading to the Proposed

 7 Transaction; (b) the financial projections for Aimmune, provided by Aimmune to the Independent

 8 Board Members’ financial advisors J.P. Morgan Securities LLC (“J.P. Morgan”) and Lazard

 9 Frères & Co. LLC (“Lazard”); and (c) the data and inputs underlying the financial valuation

10 analyses, if any, that purport to support the fairness opinions from J.P. Morgan and Lazard to the

11 Independent Board Members.

12          7.       Absent judicial intervention, the Proposed Transaction will be consummated,

13 resulting in irreparable injury to Plaintiff and the Class. This action seeks to enjoin the Proposed

14 Transaction or, in the event the Proposed Transaction is consummated, to recover damages

15 resulting from violation of the federal securities laws by Defendants.

16                                               PARTIES
17          8.       Plaintiff is a citizen of Canada and, at all times relevant hereto, has been an

18 Aimmune stockholder.

19          9.       Defendant Aimmune a clinical-stage biopharmaceutical company that develops and
20 commercializes product candidates for the treatment of peanut and other food allergies. Aimmune

21 is incorporated under the laws of the State of Delaware and has its principal place of business at

22 8000 Marina Blvd., Suite 300, Brisbane, California 94005. Shares of Aimmune common stock

23 are traded on the NasdaqGS under the symbol “AIMT.”

24          10.      Jayson Dallas ("Dallas") has been a Director of the Company at all relevant times.

25 In addition, Dallas serves as the Company’s President and Chief Executive Officer (“CEO”).

26          11.      Defendant Greg Behar ("Behar") has been a director of the Company at all
27 relevant times.

28


                                                -3-
                                      CLASS ACTION COMPLAINT
                  Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 4 of 26



 1          12.      Defendant Patrick Enright ("Enright") has been a director of the Company at all

 2 relevant times.

 3          13.      Defendant Kate Falberg ("Falberg") has been a director of the Company at all

 4 relevant times. In addition, Falberg serves as the Chair of the Audit Committee of the Company.

 5          14.      Defendant Brett Haumann ("Haumann") has been a director of the Company at all

 6 relevant times.

 7          15.      Defendant Mark Iwicki (“Iwicki”) has been a director of the Company at all

 8 relevant times.

 9          16.      Defendant Mark McDade (“McDade”) has been a director of the Company at all

10 relevant times. In addition, McDade serves as the Company’s Chairman of the Board.

11          17.      Defendant Stacey D. Seltzer (“Seltzer”) has been a director of the Company at all

12 relevant times.

13          18.      Defendants identified in ¶¶ 10 - 17 are collectively referred to as the “Individual

14 Defendants.”

15          19.      Non-Defendant Nestlé together with its subsidiaries, operates as a food and

16 beverage company. Nestlé was founded in 1866 and is headquartered in Vevey, Switzerland.

17 Parent common stock is traded on the OTC US Exchange (“OTC”) under the ticker symbol

18 “NSRGY.”

19          20.      Non-Defendant Merger Sub is a wholly owned subsidiary of Parent created to
20 effectuate the Proposed Transaction.

21                                    JURISDICTION AND VENUE
22          21.      This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

23 Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

24
     violations of Sections 14(e) and Section 20(a) of the Exchange Act. This action is not a collusive
25
     one to confer jurisdiction on a court of the United States, which it would not otherwise have.
26
            22.      Personal jurisdiction exists over each defendant either because the defendant
27
     conducts business in or maintains operations in this District, or is an individual who is either
28


                                                -4-
                                      CLASS ACTION COMPLAINT
                   Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 5 of 26



 1 present in this District for jurisdictional purposes or has sufficient minimum contacts with this

 2 District as to render the exercise of jurisdiction over defendant by this Court permissible under

 3
     traditional notions of fair play and substantial justice.
 4
             23.      Venue is proper in this District pursuant to 28 U.S.C. § 1391, because Aimmune
 5
     has its principal place of business is located in this District, and each of the Individual Defendants,
 6
     as the Company officers or directors, has extensive contacts within this District.
 7
                                     CLASS ACTION ALLEGATIONS
 8
             24.      Plaintiff brings this action pursuant to Federal Rule of Civil Procedure 23,
 9
     individually and on behalf of the stockholders of Aimmune common stock who are being and will
10
     be harmed by Defendants’ actions described herein (the “Class”). The Class specifically excludes
11
     Defendants herein, and any person, firm, trust, corporation or other entity related to, or affiliated
12
     with, any of the Defendants.
13
             25.      This action is properly maintainable as a class action because:
14
                      a. The Class is so numerous that joinder of all members is impracticable. As of
15
                         July 24, 2020, there were more than 65 million common shares of Aimmune
16
                         stock outstanding. The actual number of public stockholders of Aimmune will
17
                         be ascertained through discovery;
18
                      b. There are questions of law and fact which are common to the Class, including
19
                         inter alia, the following:
20
                              i. Whether Defendants have violated the federal securities laws;
21
                             ii. Whether Defendants made material misrepresentations and/or omitted
22
                                 material facts in the S-4; and
23
                            iii. Whether Plaintiff and the other members of the Class have and will
24
                                 continue to suffer irreparable injury if the Proposed Transaction is
25
                                 consummated.
26
27

28


                                                 -5-
                                       CLASS ACTION COMPLAINT
                  Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 6 of 26



 1                   c. Plaintiff is an adequate representative of the Class, has retained competent

 2                      counsel experienced in litigation of this nature and will fairly and adequately
 3
                        protect the interests of the Class;
 4
                     d. Plaintiff’s claims are typical of the claims of the other members of the Class
 5
                        and Plaintiff does not have any interests adverse to the Class;
 6
                     e. The prosecution of separate actions by individual members of the Class would
 7

 8                      create a risk of inconsistent or varying adjudications with respect to individual

 9                      members of the Class which would establish incompatible standards of conduct
10                      for the party opposing the Class;
11
                     f. Plaintiff anticipates that there will be no difficulty in the management of this
12
                        litigation and, thus, a class action is superior to other available methods for the
13
                        fair and efficient adjudication of this controversy; and
14

15                   g. Defendants have acted on grounds generally applicable to the Class with respect

16                      to the matters complained of herein, thereby making appropriate the relief

17                      sought herein with respect to the Class as a whole.

18                    THE INDIVIDUAL DEFENDANTS’ FIDUCAIRY DUTIES

19          26.      By reason of the Individual Defendants’ positions with the Company as officers

20 and/or directors, said individuals are in a fiduciary relationship with Aimmune and owe the

21 Company the duties of due care, loyalty, and good faith.

22          27.      By virtue of their positions as directors and/or officers of Aimmune, the Individual

23 Defendants, at all relevant times, had the power to control and influence, and did control and

24 influence and cause Aimmune to engage in the practices complained of herein.

25          28.      Each of the Individual Defendants are required to act with due care, loyalty, good

26 faith and in the best interests of the Company. To diligently comply with these duties, directors
27 of a corporation must:

28


                                                -6-
                                      CLASS ACTION COMPLAINT
                  Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 7 of 26



 1                   a. act with the requisite diligence and due care that is reasonable under the

 2                        circumstances;

 3                   b. act in the best interest of the company;

 4                   c. use reasonable means to obtain material information relating to a given

 5                        action or decision;

 6                   d. refrain from acts involving conflicts of interest between the fulfillment

 7                        of their roles in the company and the fulfillment of any other roles or

 8                        their personal affairs;

 9                   e. avoid competing against the company or exploiting any business

10                        opportunities of the company for their own benefit, or the benefit of

11                        others; and

12                   f. disclose to the Company all information and documents relating to the

13                        company’s affairs that they received by virtue of their positions in the

14                        company.

15          29.      In accordance with their duties of loyalty and good faith, the Individual

16 Defendants, as directors and/or officers of Aimmune, are obligated to refrain from:

17                   a.       participating in any transaction where the directors’ or officers’

18                   loyalties are divided;

19                   b.       participating in any transaction where the directors or officers are
20                   entitled to receive personal financial benefit not equally shared by the

21                   Company or its public stockholders; and/or

22                   c.       unjustly enriching themselves at the expense or to the detriment of

23                   the Company or its stockholders.

24

25

26
27

28


                                                  -7-
                                        CLASS ACTION COMPLAINT
                  Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 8 of 26



 1          30.      Plaintiff alleges herein that the Individual Defendants, separately and together, in

 2 connection with the Proposed Transaction, violated, and are violating, the fiduciary duties they

 3 owe to Aimmune, Plaintiff and the other public stockholders of Aimmune, including their duties

 4 of loyalty, good faith, and due care.

 5          31.      As a result of the Individual Defendants’ divided loyalties, Plaintiff and Class

 6 members will not receive adequate, fair or maximum value for their Aimmune common stock in

 7 the Proposed Transaction.

 8                                    SUBSTANTIVE ALLEGATIONS
 9 Company Background

10          32.      Aimmune,     a    clinical-stage   biopharmaceutical   company,     develops    and

11 commercializes product candidates for the treatment of peanut and other food allergies.

12          33.      The Company’s lead Characterized Oral Desensitization ImmunoTherapy

13 (CODIT) product candidate is AR101, an investigational biologic, which is in Phase III clinical

14 trial for the treatment of patients with peanut allergy. The Company also engages in the research

15 and development of AR201, a CODIT product candidate for the treatment of egg allergy in

16 pediatric and young adult patients; and other CODIT product candidates targeting food allergies,

17 such as cow's milk allergy. The Company aims to treat potentially life-threatening food allergies

18 by reducing the severity of reactions, including anaphylaxis. Aimmune’s marquee treatment

19 Palforzia, is the first therapy approved by the U.S. Food and Drug Administration (FDA) for peanut
20 allergies.

21          34.      Aimmune has a strategic collaboration with an affiliate of Nestle Health Science

22 US Holdings, Inc. for the advancement of food allergy therapeutics; and clinical collaboration

23 agreement with Regeneron Ireland Unlimited Company and Sanofi Biotechnology SAS to study

24 AR101 with adjunctive dupilumab in peanut-allergic patients in a Phase II trial.

25          35.      In a March 16, 2020 Press Release after the January approval of the treatment,

26 Defendant CEO Dallas commented, “We are pleased that peanut-allergic children are being treated
27 with PALFORZIA just six weeks after its FDA approval. Our anticipation of and preparedness for

28 the REMS program allowed for a swift and smooth implementation of those requirements. In


                                                 -8-
                                       CLASS ACTION COMPLAINT
                  Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 9 of 26



 1 addition, our U.S.-based supply chain remains fully operational and commercial supply is

 2 available… Since our REMS website went live on February 21, well over 600 allergists are

 3 certified and ready to prescribe PALFORZIA to their patients. Our field team is continuing to meet

 4 with allergists to provide direction and information on the REMS process to help additional

 5 physicians and practices become certified and provide training on how to safely incorporate

 6 PALFORZIA into their practices.”

 7          36.      According to the Company’s June 8, 2020 Press Release, patients were highly

 8 satisfied after nine months of daily treatments, “We are encouraged to see the majority of

 9 participants completing the nine-month ARTEMIS trial reported high global satisfaction with daily

10 treatment with PALFORZIA, high confidence in the treatment, and moderate-to-high satisfaction

11 with the convenience of the treatment… Hearing from patients directly is important for us to better

12 understand the effects this treatment can have on their lives. The study participants felt treatment

13 with PALFORZIA in the ARTEMIS trial was effective, which may help them better manage their

14 peanut allergy and live their lives more confidently. Our hope is that these data will reassure

15 families who may be considering treatment with PALFORZIA to help them make important shared

16 treatment decisions with their allergists.”

17          37.      An August 31, 2020 Fierce Pharma article on the Proposed Transaction commented

18 on Palforzia’s financial potential, “Early in its launch, Palforzia has been stricken with slow uptake

19 given widespread lockdowns around COVID-19, Piper Sandler analysts wrote in a note to clients
20 after the deal was announced. However, once allergy clinics start running at full speed, Palforzia

21 could make the Nestlé's rich premium look like a steal in the long run. ‘While we understand the

22 uncertainty that COV(ID)-19 disruption presents, we also think as pandemic-related disruption

23 recedes and Palforzia’s true demand begins to manifest, it will be deemed that Nestle got itself a

24 bargain here,’ the analysts wrote.”

25          38.      Clearly, based upon the positive outlook, the Company is likely to have tremendous

26 future success with Palforzia and additional pipeline treatments, it should command a much higher
27 consideration than the amount contained within the Proposed Transaction.

28


                                                -9-
                                      CLASS ACTION COMPLAINT
              Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 10 of 26



 1          39.    Despite this upward trajectory, the Individual Defendants have caused Aimmune to

 2 enter into the Proposed Transaction for insufficient consideration.

 3 The Flawed Sales Process

 4          40.    As detailed in the Recommendation Statement, the process deployed by the

 5 Individual Defendants was flawed and inadequate, was conducted out of the self-interest of the

 6 Individual Defendants, and was designed with only one concern in mind – to effectuate a sale of

 7 the Company to Nestlé, who is already the largest single stockholder of the Company, owning

 8 approximately 19% of Aimmune’s outstanding stock.

 9          41.    The Recommendation Statement does not indicate why it was necessary to engage

10 J.P. Morgan as an additional financial advisor after Lazard had already been engaged to serve as a

11 financial advisor to the Independent Directors regarding the sales process. Moreover, the

12 Recommendation statement fails to indicate, why Lazard could not accomplish the tasks necessary

13 of it as a financial advisor. Such information is relevant considering J.P. Morgan and Lazar stand

14 to make over $19 million and $17 million for their services rendered as financial advisors in

15 relation to the Proposed Transaction.

16          42.    The Recommendation Statement is also unclear as to the existence or nature of any

17 non-disclosure agreement entered into between Aimmune and any potentially interested third

18 party, including Nestlé, as part of the sales process, and if the terms of any such agreements

19 included “don’t-ask, don’t-waive” provisions or standstill provisions, and if so, the specific
20 conditions, if any, under which such provisions would fall away.

21          43.    It is not surprising, given this background to the overall sales process, that it was

22 conducted in a completely inappropriate and misleading manner.

23 The Proposed Transaction

24          44.    On August 31, 2020, Aimmune issued a press release announcing the Proposed

25 Transaction. The press release stated, in relevant part:

26          Brisbane, CA, August 31, 2020 – Aimmune Therapeutics Inc. (Nasdaq: AIMT), a
27          biopharmaceutical company developing and commercializing treatments for
            potentially life-threatening food allergies, today announced that it has entered into
28          a definitive agreement for Sociétés des Produits Nestlé, S.A. to acquire Aimmune
            for $34.50 per share in an all-cash transaction, implying a fully-diluted equity value

                                              - 10 -
                                     CLASS ACTION COMPLAINT
       Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 11 of 26



 1   of $2.6 billion. Sociétés des Produits Nestlé, S.A. is a part of Nestlé Health Science
     (NHSc) and a wholly owned subsidiary of Nestlé S.A. The agreement was
 2   unanimously approved by all of the independent members of the Board of Directors
     of Aimmune. Greg Behar, CEO of Nestlé Health Sciences and an Aimmune
 3
     Director, abstained due to his position with Nestlé Health Science.
 4
     “The agreement with Nestlé recognizes the value created by years of commitment
 5   and dedication to our mission by the team at Aimmune. Delivering PALFORZIA,
     the world’s first treatment for food allergy, is a game-changing proposition in the
 6   bio pharmaceutical industry and is transformative for the lives of millions of people
     living with potentially life-threatening peanut allergy,” said Jayson Dallas, MD,
 7   President and Chief Executive Officer of Aimmune. “This acquisition provides
 8   strong value for our shareholders and ensures a level of support for PALFORZIA
     and our pipeline that will further enhance their potential for patients around the
 9   world living with food allergies. Aimmune appreciates the continued strong
     collaboration with Nestlé Health Science dating back to 2016 through their support
10   as a shareholder and board member, as well as through their consumer/nutrition
     strength and experience. Their extensive capabilities and global reach, as well as
11
     their alignment with our vision of pioneering treatments and solutions for food
12   allergies, are a strong fit for our company.”

13   “This transaction brings together Nestlé’s nutritional science leadership with one
     of the most innovative companies in food allergy treatment,” said Nestlé Health
14   Science CEO Greg Behar. “Together, we will be able to create a world leader in
     food allergy prevention and treatment and offer a wide range of solutions that can
15   transform the lives of people around the world living with food allergies.”
16
     The transaction is expected to close in the fourth quarter of 2020, pending the
17   satisfaction of all conditions to the completion of the tender offer. Until that
     time, Aimmune will continue to operate as a separate and independent company.
18
     Transaction Details
19
     Under the terms of the merger agreement, Nestlé S.A.’s wholly-owned subsidiary,
20   Société des Produits Nestlé S.A. (SPN), will commence a cash tender offer to
     acquire all outstanding shares of Aimmune common stock that are not already
21   owned by NHSc for $34.50 per share in cash, and Aimmune agreed to file a
     recommendation statement containing the unanimous recommendation of
22
     the independent members of the Aimmune board that Aimmune stockholders
23   tender their shares to SPN. Following the completion of the tender offer, Nestlé
     expects to promptly consummate a merger of Aimmune with a subsidiary of SPN,
24   in which shares of Aimmune that have not been tendered in the tender offer will be
     acquired by SPN and converted into the right to receive the same cash price per
25   share as paid in the tender offer.
26   The closing of the tender offer is subject to customary closing conditions, including
     the tender of a majority of outstanding Aimmune shares on a fully diluted basis
27   which shall include the shares of Aimmune common stock currently held by Nestlé
     and its affiliates and the expiration or termination of the waiting period under the
28
     Hart-Scott-Rodino Antitrust Improvements Act and antitrust approvals in

                                       - 11 -
                              CLASS ACTION COMPLAINT
               Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 12 of 26



 1           Germany. The merger agreement includes customary termination provisions for
             both Aimmune and Nestlé.
 2
     The Inadequate Merger Consideration
 3
             45.     Significantly, the Company’s financial prospects and opportunities for future
 4
     growth, and synergies with Nestlé establish the inadequacy of the merger consideration.
 5
             46.     First, the compensation afforded under the Proposed Transaction to Company
 6
     stockholders significantly undervalues the Company and does not adequately reflect the intrinsic
 7
     value of the Company. Moreover, the valuation does not adequately take into consideration the
 8
     Company’s potential financial success with its launch of Palforzia in January 2020 and its phase
 9
     two pipeline egg allergy treatment and their potential growth.
10
             47.     Aimmune’s future success is extremely likely, given the innovation of novel drugs
11
     in a highly prevalent population of affected patients. Obviously, the opportunity to invest in such
12
     a company on the rise is a great coup for Nestlé, however it undercuts the investment of Plaintiff
13
     and all other public stockholders.”
14
             48.     To be more specific, Biotechnology news source, Endpoints News, released an
15
     article about the Proposed Transaction, noting, “Baird’s Brian Skorney estimated that the new
16
     cash, along with their credit facility with KKR, should give Aimmune a $450 million reservoir and
17
     resolve any questions about whether they’ll have the capacity to commercialize Palforzia. It ‘is
18
     more than enough to fund the launch of Palforzia and get to a point that settles the bull/bear launch
19
     debate,’ he wrote in a note to investors. Separately, Aimmune announced an exclusive, $10 million
20
     licensing agreement for Xencor’s XmAb7195, a humanized antibody designed to treat the
21
     underlying mechanisms behind allergic reaction. Aimmune’s value has increased by over a third
22
     since Nestlé’s initial investment, in large part thanks to Palforzia’s success.” Such promise is
23
     likely to translate into strong financial success.
24
             49.     Finally, the Proposed Transaction represents a significant synergistic benefit to
25
     Nestlé, which operates in the complementary industry as Aimmune, and will use the new portfolio,
26
     operational capabilities, and brand capital to bolster its own position in the market. Specifically,
27
     in the August 24, 2020 Fierce Pharma article mentioned above, commented on Aimmune’s
28
     benefits to Nestlé, “Bringing Aimmune on board will add some heft to Nestlé's health sciences

                                                - 12 -
                                       CLASS ACTION COMPLAINT
               Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 13 of 26



 1 unit, launched in 2011, and its food allergy portfolio. Palforzia has blockbuster aspirations as the

 2 only approved peanut allergy therapy on the market, with Evaluate Pharma pegging its 2024 sales

 3 at roughly $1.28 billion.”

 4          50.     Clearly, while the deal will be beneficial to Nestlé it comes at great expense to

 5 Plaintiff and other public stockholders of the Company.

 6          51.     Moreover, post-closure, Aimmune stockholders will be frozen out of any future

 7 benefit from their investment in Aimmune’s bright future.

 8          52.     It is clear from these statements and the facts set forth herein that this deal is

 9 designed to maximize benefits for Nestlé at the expense of Aimmune stockholders, which clearly

10 indicates that Aimmune stockholders were not an overriding concern in the formation of the

11 Proposed Transaction.

12 Preclusive Deal Mechanisms

13          53.     The Merger Agreement contains certain provisions that unduly benefit Nestlé by

14 making an alternative transaction either prohibitively expensive or otherwise impossible.

15 Significantly, the Merger Agreement contains a termination amount provision that is especially

16 onerous and impermissible. Notably, in the event of termination, the merger agreement requires

17 Aimmune to pay $85 million to Nestlé, if the Merger Agreement is terminated under certain

18 circumstances. Moreover, under one circumstance, Aimmune must pay this termination fee even

19 if it consummates any competing company Takeover Proposal (as defined in the Merger
20 Agreement) within 12 months following the termination of the Merger Agreement.                   The

21 termination amount will make the Company that much more expensive to acquire for potential

22 purchasers. The termination amount in combination with other preclusive deal protection devices

23 will all but ensure that no competing offer will be forthcoming.

24          54.     The Merger Agreement also contains a “No Solicitation” provision that restricts

25 Aimmune from considering alternative acquisition proposals by, inter alia, constraining

26 Aimmune’s ability to solicit or communicate with potential acquirers or consider their proposals.
27 Specifically, the provision prohibits the Company from directly or indirectly soliciting, initiating,

28 proposing or inducing any alternative proposal, but permits the Board to consider an unsolicited


                                              - 13 -
                                     CLASS ACTION COMPLAINT
              Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 14 of 26



 1 bona fide written “Takeover Proposal” if it constitutes or is reasonably calculated to lead to a

 2 “Superior Proposal” as defined in the Merger Agreement.

 3          55.       Moreover, the Merger Agreement further reduces the possibility of a topping offer

 4 from an unsolicited purchaser.                Here, the Individual Defendants agreed to provide Nestlé

 5 information in order to match any other offer, providing Nestlé the ability to top the superior offer.

 6 Thus, a rival bidder is not likely to emerge with the cards stacked so much in favor of Nestlé.

 7          56.       These provisions, individually and collectively, materially and improperly impede

 8 the Board’s ability to fulfill its fiduciary duties with respect to fully and fairly investigating and

 9 pursuing other reasonable and more valuable proposals and alternatives in the best interests of the

10 Company and its public stockholders.

11          57.       Accordingly, the Company’s true value is compromised by the consideration

12 offered in the Proposed Transaction.

13 Potential Conflicts of Interest

14          58.       The breakdown of the benefits of the deal indicate that Aimmune insiders are the

15 primary beneficiaries of the Proposed Transaction, not the Company’s public stockholders. The

16 Board and the Company’s executive officers are conflicted because they will have secured unique

17 benefits for themselves from the Proposed Transaction not available to Plaintiff and the public

18 stockholders of Aimmune.

19          59.       Certain insiders stand to receive significant financial benefits as a result of the
20 Proposed Transaction. Notably, Company insiders, including the Individual Defendants, currently

21 own large, illiquid portions of Company stock that will be exchanged for large cash pay days upon

22 the consummation of the Proposed Transaction, as follows:

23                                                                        Number of      Implied Cash
                                                                            Shares       Consideration
                                                                          Beneficially        for
24                Name of Executive Officer or Director                    Owned(1)         Shares
                  Dr. Jayson D.A. Dallas                                     28,764      $    992,358
25                Greg Behar                                                 10,192      $    351,624
                  Patrick G. Enright(2)                                   6,183,695      $213,337,478
26                Kathryn E. Falberg                                        135,086      $ 4,660,467
                  Brett Haumann                                               6,250      $    215,625
27                Mark T. Iwicki                                             39,567      $ 1,365,062
                  Mark D. McDade                                             26,852      $    926,394
                  Stacey D. Seltzer                                          10,221      $    352,625
28
                  Dr. Daniel C. Adelman                                       4,952      $    170,844


                                                      - 14 -
                                             CLASS ACTION COMPLAINT
                Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 15 of 26



 1                 Eric H. Bjerkholt                                                    20,931     $       722,120
                   Andrew Oxtoby                                                         4,765     $       164,393
 2                 Douglas T. Sheehy                                                    14,982     $       516,879
                   Narinder Singh                                                            0     $             0
 3                 All of our current executive officers and non-employee
                      directors as a group (13 persons)                             6,486,257 $223,775,867
 4

 5           60.       Furthermore, upon the consummation of the Proposed Transaction, each

 6 outstanding Company option or equity award, will be canceled and converted into the right to

 7 receive certain consideration according to the merger agreement, as follows:
                              Number of                                                          Number of
 8                            Unvested                                                           Unvested
                              Company Value of Unvested Number of Vested         Value of Vested Company Value of Unvested
 9                             Options  Company Options Company Options         Company Options    RSUs    Company RSUs
     Name                        (#)        ($)(1)           (#)                     ($)(1)         (#)        ($)(2)
     Executive Officers
10 Dr. Jayson D.A. Dallas          466,667       3,898,418        293,333              1,840,382         92,550          3,192,975
     Dr. Daniel C. Adelman         122,814       1,147,490        297,186              5,165,397         24,763            854,324
11   Eric H. Bjerkholt             164,532       1,743,502        296,718              3,797,123         26,325            908,213
     Andrew Oxtoby                 149,688       1,769,633         67,812                835,942         22,670            782,115
12   Douglas T. Sheehy             145,313       1,316,077        192,936              2,397,489         39,295          1,355,678
     Narinder Singh                150,000       2,571,000            —                      —            4,285            147,833
13
     Directors
14   Greg Behar                     15,398         267,771         75,942                843,228          7,840               270,480
     Patrick G. Enright             15,398         267,771        174,457              4,582,495          7,840               270,480
     Kathryn E. Falberg             15,398         267,771         56,187                841,253          7,840               270,480
15
     Brett Haumann                  23,332         405,743          2,121                 36,884         13,313               459,299
     Mark T. Iwicki                 15,398         267,771        195,976              4,956,274          7,840               270,480
16   Mark D. McDade                 15,398         267,771        161,029              4,141,469          7,840               270,480
     Stacey D. Seltzer              15,398         267,771        108,608              2,320,206          7,840               270,480
17

18
             61.       Moreover, certain employment agreements with certain Aimmune executives,
19
     entitle such executives to severance packages should their employment be terminated under certain
20
     circumstances. These ‘golden parachute’ packages are significant, and will grant each director or
21
     officer entitled to them millions of dollars, compensation not shared by Aimmune common
22
     stockholders, and will be paid out as follows
23                                                                                      Perquisites/
         Named Executive Officer                 Cash ($)(1)    Equity ($)(2)          Benefits ($)(3)            Total ($)
24       Dr. Jayson D.A. Dallas              $      1,800,000      7,091,393       $            56,244      $       8,947,637
         Dr. Daniel C. Adelman               $        785,696      2,001,814       $            23,559      $       2,811,069
25       Eric H. Bjerkholt                   $        773,312      2,651,715       $            39,192      $       3,464,219
         Andrew Oxtoby                       $        751,296      2,551,748       $            31,410      $       3,334,454
26       Douglas T. Sheehy                   $        728,248      2,671,755       $            37,496      $       3,437,499

27
             62.       Thus, while the Proposed Transaction is not in the best interests of Aimmune’s
28
     stockholders, it will produce lucrative benefits for the Company’s officers and directors.

                                                      - 15 -
                                             CLASS ACTION COMPLAINT
              Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 16 of 26



 1 The Materially Misleading and/or Incomplete Recommendation Statement

 2         63.     On September 14, 2020, the Aimmune Board caused to be filed a materially

 3 misleading and incomplete Recommendation Statement with the SEC that, in violation their

 4 fiduciary duties, failed to provide the Company’s stockholders with material information and/or

 5 provides them with materially misleading information critical to the total mix of information

 6 available to the Company’s stockholders concerning the financial and procedural fairness of the

 7 Proposed Transaction.

 8         Omissions and/or Material Misrepresentations Concerning The Process Leading to the

 9         Proposed Transaction

10         64.     Specifically, the Recommendation Statement fails to provide material information

11 concerning the process conducted by the Company and the events leading up to the Proposed

12 Transaction. In particular, the Recommendation Statement fails to disclose:

13                 a. The Recommendation Statement fails to adequately explain why the

14                    engagement of J.P. Morgan was necessary, why Lazard could not accomplish

15                    the tasks provided by J.P. Morgan, or why Lazard was engaged given it required

16                    the aid of an additional financial advisor to serve as the Independent Board

17                    Members’ financial advisor; and

18                 b. The Recommendation Statement is also unclear as to the nature of the non-

19                    disclosure agreement entered into between Aimmune and any potentially
20                    interested third party, including Nestlé, as part of the sales process, and if the

21                    terms of any such agreements included “don’t-ask, don’t-waive” provisions or

22                    standstill provisions, and if so, the specific conditions, if any, under which such

23                    provisions would fall away

24         Omissions and/or Material Misrepresentations Concerning Aimmune’s Financial

25         Projections

26         65.     The Recommendation Statement fails to provide material information concerning
27 financial projections provided by Aimmune’s management and relied upon by J.P. Morgan and

28 Lazard in their analyses.     The Recommendation Statement discloses management-prepared


                                             - 16 -
                                    CLASS ACTION COMPLAINT
              Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 17 of 26



 1 financial projections for the Company which are materially misleading. The Recommendation

 2 Statement indicates that in connection with the rendering of J.P Morgan’s fairness opinion, J.P.

 3 Morgan reviewed, “certain internal financial analyses and forecasts prepared by the management

 4 of the Company relating to its business.”

 5          66.    In addition, the Recommendation Statement indicates hat in connection with the

 6 rendering of Lazard’s fairness opinion, Lazard reviewed, “various financial forecasts and other

 7 data provided to it by the Company relating to the business of the Company.”

 8          67.    Accordingly, the Recommendation Statement should have, but fails to provide,

 9 certain information in the projections that Aimmune management provided to the Board, the

10 Independent Board Members, J.P. Morgan, and Lazard. Courts have uniformly stated that

11 “projections … are probably among the most highly-prized disclosures by investors. Investors can

12 come up with their own estimates of discount rates or [] market multiples. What they cannot hope

13 to do is replicate management’s inside view of the company’s prospects.” In re Netsmart Techs.,

14 Inc. S’holders Litig., 924 A.2d 171, 201-203 (Del. Ch. 2007).

15          68.    With respect to the “Company Management Projections,” the Recommendation

16 Statement fails to provide material information concerning the financial projections prepared by

17 Aimmune management. Specifically, the Recommendation Statement fails to disclose material

18 line items for the following metrics:

19                 a. EBIT, including the included line items of operating expenses, which includes
20                     stock-based compensation expense;

21                 b. Unlevered Free Cash Flow, including the included line items of taxes, expected

22                     working capital requirements, depreciation, amortization and capital

23                     expenditures.

24          69.    Additionally, the Recommendation Statement provides non-GAAP financial

25 metrics, including EBIT and Unlevered Free Cash Flow, but fails to disclose a reconciliation of all

26 non-GAAP to GAAP metrics.
27          70.    Further, the Recommendation Statement provides, on pp. 46-47, as follows:

28                         In creating the Early Long-Term Projections, Company
                           management made various assumptions, including the

                                                - 17 -
                                       CLASS ACTION COMPLAINT
               Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 18 of 26



 1                         impact of COVID-19 on PALFORZIA, the probability of
                           success of the Company’s product candidates, timing for
 2                         clinical trial completion and commercial launch, as well as
                           estimated operational costs, including sales & marketing,
 3
                           research & development, manufacturing, and general &
 4                         administrative, and other market and financial conditions
                           and other future events, the results of which are reflected in
 5                         the tables below.
 6          71.     Despite this statement, the Recommendation Statement fails to provide the risk
 7 adjustments that were made to the Company’s projections, nor does the Recommendation

 8 Statement provide the un-risked projections so Aimmune stockholders can evaluate the financial

 9 impact the Company’s risk-adjustments had on the projections.

10          72.     This information is necessary to provide Company stockholders a complete and
11 accurate picture of the sales process and its fairness. Without this information, stockholders were

12 not fully informed as to Defendants’ actions, including those that may have been taken in bad faith,

13 and cannot fairly assess the process.

14          73.     Without accurate projection data presented in the Recommendation Statement,
15 Plaintiff and other stockholders of Aimmune are unable to properly evaluate the Company’s true

16 worth, the accuracy of J.P. Morgan and Lazard’s financial analyses, or make an informed decision

17 whether to tender their Company stock in favor of the Proposed Transaction. As such, the Board

18 has breached their fiduciary duties by failing to include such information in the Recommendation

19 Statement.
20          Omissions and/or Material Misrepresentations Concerning the Financial Analyses by J.P.
21          Morgan
22          74.     In the Recommendation Statement, J.P. Morgan describes its respective fairness
23 opinion and the various valuation analyses performed to render such opinion. However, the

24 descriptions fail to include necessary underlying data, support for conclusions, or the existence of,

25 or basis for, underlying assumptions. Without this information, one cannot replicate the analyses,

26 confirm the valuations or evaluate the fairness opinions.
27          75.     With respect to the Selected Transactions Analysis, the Recommendation Statement
28 fails to disclose the following:


                                               - 18 -
                                      CLASS ACTION COMPLAINT
               Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 19 of 26



 1                   a. The value of each selected precedent transaction; and

 2                   b. The date on which each selected precedent transaction closed.

 3          76.      With respect to the Discounted Cash Flow Analysis, the Recommendation

 4 Statement fails to disclose the following:

 5                   a. The specific inputs and assumptions used to calculate the perpetual growth rate

 6                      range of negative 40% to negative 20%;

 7                   b. The specific inputs and assumptions used to calculate the discount rate range of

 8                      10.0% to 14.0%;

 9                   c. The Company’s weighted average cost of capital;

10                   d. The Company’s net cash as of June 30, 2020; and

11                   e. The Company’s number of outstanding, fully-diluted shares.

12          77.      These disclosures are critical for stockholders to be able to make an informed

13 decision on whether to tender their shares in favor of the Proposed Transaction.

14          78.      Without the omitted information identified above, Aimmune’s public stockholders

15 are missing critical information necessary to evaluate whether the proposed consideration truly

16 maximizes stockholder value and serves their interests. Moreover, without the key financial

17 information and related disclosures, Aimmune public stockholders cannot gauge the reliability of

18 the fairness opinion and the Board’s determination that the Proposed Transaction is in their best

19 interests. As such, the Board has breached their fiduciary duties by failing to include such
20 information in the Recommendation Statement.

21          Omissions and/or Material Misrepresentations Concerning the Financial Analyses by

22          Lazard

23          79.      In the Recommendation Statement, Lazard describes its respective fairness opinion

24 and the various valuation analyses performed to render such opinion. However, the descriptions

25 fail to include necessary underlying data, support for conclusions, or the existence of, or basis for,

26 underlying assumptions. Without this information, one cannot replicate the analyses, confirm the
27 valuations or evaluate the fairness opinions.

28


                                               - 19 -
                                      CLASS ACTION COMPLAINT
              Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 20 of 26



 1          80.    With respect to the Discounted Cash Flow Analysis, the Recommendation

 2 Statement fails to disclose the following:

 3                 a. The specific inputs and assumptions used to calculate the discount rate range of

 4                     10.0% to 12.0%;

 5                 b. The Company’s weighted average cost of capital;

 6                 c. The specific inputs and assumptions used to calculate the negative terminal

 7                     growth rate range of negative 40% to negative 20%;

 8                 d. The Company’s estimated net cash as of September 30, 2020; and

 9                 e. The Company’s number of outstanding, fully-diluted shares, as of August 26,

10                     2020.

11          81.    With respect to the Selected Public Companies Analysis, the Recommendation

12 Statement fails to disclose the multiples and metrics for each selected company.

13          82.    With    respect   to   the   Selected   Precedent    Transactions      Analysis,   the

14 Recommendation Statement fails to disclose the following:

15                 a. The multiples and metrics for each selected precedent transaction;

16                 b. The value of each selected precedent transaction; and

17                 c. The date on which each selected precedent transaction closed

18          83.    With regards to the Research Analysts Price Targets the Recommendation

19 Statement fails to provide the individual price targets analyzed and source thereof.
20          84.    With regards to the Premia Paid Analysis the Recommendation Statement fails to

21 provide the specific premiums in each observed analysis.

22          85.    These disclosures are critical for stockholders to be able to make an informed

23 decision on whether to tender their shares in favor of the Proposed Transaction.

24          86.    Without the omitted information identified above, Aimmune public stockholders

25 are missing critical information necessary to evaluate whether the proposed consideration truly

26 maximizes stockholder value and serves their interests. Moreover, without the key financial
27 information and related disclosures, Aimmune’s public stockholders cannot gauge the reliability

28 of the fairness opinion and the Board’s determination that the Proposed Transaction is in their best


                                              - 20 -
                                     CLASS ACTION COMPLAINT
              Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 21 of 26



 1 interests. As such, the Board has breached their fiduciary duties by failing to include such

 2 information in the Preliminary Stockholders.

 3                                            FIRST COUNT
 4                                Claim for Breach of Fiduciary Duties
 5                                (Against the Individual Defendants)
 6          87.    Plaintiff repeats all previous allegations as if set forth in full herein.

 7          88.    The Individual Defendants have violated their fiduciary duties of care, loyalty and

 8 good faith owed to Plaintiff and the Company’s public stockholders.

 9          89.    By the acts, transactions and courses of conduct alleged herein, Defendants,

10 individually and acting as a part of a common plan, are attempting to unfairly deprive Plaintiff and

11 other members of the Class of the true value of their investment in Aimmune.

12          90.    As demonstrated by the allegations above, the Individual Defendants failed to

13 exercise the care required, and breached their duties of loyalty and good faith owed to the

14 stockholders of Aimmune by entering into the Proposed Transaction through a flawed and unfair

15 process and failing to take steps to maximize the value of Aimmune to its public stockholders.

16          91.    Indeed, Defendants have accepted an offer to sell Aimmune at a price that fails to

17 reflect the true value of the Company, thus depriving stockholders of the reasonable, fair and

18 adequate value of their shares.

19          92.    Moreover, the Individual Defendants breached their duty of due care and candor by
20 failing to disclose to Plaintiff and the Class all material information necessary for them to make

21 an informed vote on whether to approve the Merger.

22          93.    The Individual Defendants dominate and control the business and corporate affairs

23 of Aimmune, and are in possession of private corporate information concerning Aimmune’s assets,

24 business and future prospects. Thus, there exists an imbalance and disparity of knowledge and

25 economic power between them and the public stockholders of Aimmune which makes it inherently

26 unfair for them to benefit their own interests to the exclusion of maximizing stockholder value.
27

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                                              - 21 -
                                     CLASS ACTION COMPLAINT
               Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 22 of 26



 1           94.    By reason of the foregoing acts, practices and course of conduct, the Individual

 2 Defendants have failed to exercise due care and diligence in the exercise of their fiduciary

 3 obligations toward Plaintiff and the other members of the Class.

 4           95.    As a result of the actions of the Individual Defendants, Plaintiff and the Class will

 5 suffer irreparable injury in that they have not and will not receive their fair portion of the value of

 6 Aimmune’s assets and have been and will be prevented from obtaining a fair price for their

 7 common stock.

 8           96.    Unless the Individual Defendants are enjoined by the Court, they will continue to

 9 breach their fiduciary duties owed to Plaintiff and the members of the Class, all to the irreparable

10 harm of the Class.

11           97.    Plaintiff and the members of the Class have no adequate remedy at law. Only

12 through the exercise of this Court’s equitable powers can Plaintiff and the Class be fully protected

13 from the immediate and irreparable injury which Defendants’ actions threaten to inflict.

14                                          SECOND COUNT
15                   Aiding and Abetting the Board’s Breaches of Fiduciary Duty
16                                          (Against Aimmune)
17           98.    Plaintiff incorporates each and every allegation set forth above as if fully set forth

18 herein.

19           99.    Defendant Aimmune, knowingly assisted the Individual Defendants’ breaches of
20 fiduciary duty in connection with the Proposed Transaction, which, without such aid, would not

21 have occurred.

22           100.   As a result of this conduct, Plaintiff and the other members of the Class have been

23 and will be damaged in that they have been and will be prevented from obtaining a fair price for

24 their shares.

25           101.   Plaintiff and the members of the Class have no adequate remedy at law.

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                                               - 22 -
                                      CLASS ACTION COMPLAINT
               Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 23 of 26



 1                                             THIRD COUNT
 2                           Violations of Section 14(e) of the Exchange Act
 3                                        (Against All Defendants)
 4          102.    Plaintiff repeats all previous allegations as if set forth in full herein.

 5          103.    Defendants have disseminated the Recommendation Statement with the intention

 6 of soliciting stockholders to vote their shares in favor of the Proposed Transaction.

 7          104.    Section 14(e) of the Exchange Act provides that in the solicitation of shares in a

 8 tender offer, “[i]t shall be unlawful for any person to make any untrue statement of a material fact

 9 or omit to state any material fact necessary in order to make the statements made, in the light of

10 the circumstances under which they are made, not misleading[.].

11          105.    The Recommendation Statement was prepared in violation of Section 14(e) because

12 it is materially misleading in numerous respects and omits material facts, including those set forth

13 above. Moreover, in the exercise of reasonable care, Defendants knew or should have known that

14 the Recommendation Statement is materially misleading and omits material facts that are

15 necessary to render them non-misleading.

16          106.    The Individual Defendants had actual knowledge or should have known of the

17 misrepresentations and omissions of material facts set forth herein.

18          107.    The Individual Defendants were at least negligent in filing a Recommendation

19 Statement that was materially misleading and/or omitted material facts necessary to make the
20 Recommendation Statement not misleading.

21          108.    The misrepresentations and omissions in the Recommendation Statement are

22 material to Plaintiff and the Class, and Plaintiff and the Class will be deprived of its entitlement to

23 decide whether to tender its shares on the basis of complete information if such misrepresentations

24 and omissions are not corrected prior to the expiration of the tender offer period regarding the

25 Proposed Transaction.

26          109.    Plaintiff and the members of the Class have no adequate remedy at law.
27

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                                               - 23 -
                                      CLASS ACTION COMPLAINT
               Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 24 of 26



 1                                           FOURTH COUNT
 2              Violations of Section 14(d)(4) of the Exchange Act and SEC Rule 14d-9
 3                                        (Against All Defendants)
 4          110.    Plaintiff repeats and realleges all previous allegations as if set forth in full herein.

 5          111.    Defendants have disseminated the Recommendation Statement with the intention

 6 of soliciting stockholders to tender their shares in favor of the Proposed Transaction.

 7          112.    Section 14(d)(4) requires Defendants to make full and complete disclosure in

 8 connection with a tender offer.

 9          113.    SEC Rule 14d-9 requires a Company’s directors to, furnish such additional

10 information, if any, as may be necessary to make the required statements, in light of the

11 circumstances under which they are made, not materially misleading.

12          114.    Here, the Recommendation Statement violates both Section 14(d)(4) and SEC Rule

13 14d-9 because it because it is materially misleading in numerous respects, omits material facts,

14 including those set forth above and Defendants knowingly or recklessly omitted the material facts

15 from the Recommendation Statement.

16          115.    The misrepresentations and omissions in the Recommendation Statement are

17 material to Plaintiff and the Class, and Plaintiff and the Class will be deprived of its entitlement to

18 decide whether to tender their shares on the basis of complete information if such

19 misrepresentations and omissions are not corrected prior to the expiration of the tender offer period
20 regarding the Proposed Transaction.

21          116.    Plaintiff and the members of the Class have no adequate remedy at law.

22                                             FIFTH COUNT
23                           Violations of Section 20(a) of the Exchange Act
24                                  (Against all Individual Defendants)
25          117.    Plaintiff repeats all previous allegations as if set forth in full herein.

26          118.    The Individual Defendants were privy to non-public information concerning the
27 Company and its business and operations via access to internal corporate documents, conversations

28 and connections with other corporate officers and employees, attendance at management and


                                               - 24 -
                                      CLASS ACTION COMPLAINT
               Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 25 of 26



 1 Board meetings and committees thereof and via reports and other information provided to them in

 2 connection therewith. Because of their possession of such information, the Individual Defendants

 3 knew or should have known that the S-4 was materially misleading to the Company stockholders.

 4          119.    The Individual Defendants were involved in drafting, producing, reviewing and/or

 5 disseminating the materially false and misleading statements complained of herein. The Individual

 6 Defendants were aware or should have been aware that materially false and misleading statements

 7 were being issued by the Company in the S-4 and nevertheless approved, ratified and/or failed to

 8 correct those statements, in violation of federal securities laws. The Individual Defendants were

 9 able to, and did, control the contents of the S-4. The Individual Defendants were provided with

10 copies of, reviewed and approved, and/or signed the S-4 before its issuance and had the ability or

11 opportunity to prevent its issuance or to cause it to be corrected.

12          120.    The Individual Defendants also were able to, and did, directly or indirectly, control

13 the conduct of Aimmune’s business, the information contained in its filings with the SEC, and its

14 public statements. Because of their positions and access to material non-public information

15 available to them but not the public, the Individual Defendants knew or should have known that

16 the misrepresentations specified herein had not been properly disclosed to and were being

17 concealed from the Company’s stockholders and that the S-4 was misleading. As a result, the

18 Individual Defendants are responsible for the accuracy of the S-4 and are therefore responsible

19 and liable for the misrepresentations contained herein.
20          121.    The Individual Defendants acted as controlling persons of Aimmune within the

21 meaning of Section 20(a) of the Exchange Act. By reason of their position with the Company, the

22 Individual Defendants had the power and authority to cause Aimmune to engage in the wrongful

23 conduct complained of herein. The Individual Defendants controlled Aimmune and all of its

24 employees. As alleged above, Aimmune is a primary violator of Section 14 of the Exchange Act

25 and SEC Rule S-4. By reason of their conduct, the Individual Defendants are liable pursuant to

26 section 20(a) of the Exchange Act.
27          122.    Plaintiff and the members of the Class have no adequate remedy at law.

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                                              - 25 -
                                     CLASS ACTION COMPLAINT
Case 3:20-cv-06609-JD Document 1 Filed 09/21/20 Page 26 of 26
